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12
                          UNITED STATES DISTRICT COURT
13
          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
14
     JOHN C. EASTMAN,                       Case No.: 8:22-cv-00099-DOC-DFM
15
                          Plaintiff,        PLAINTIFF’S CORRECTED REPLY IN
16 vs.                                      SUPPORT OF APPLICATION FOR
                                            TEMPORARY RESTRAINING ORDER
17   BENNIE G. THOMPSON, et al.
18                        Defendants        Date: January 24, 2022
                                            Time: 2:00 p.m.
19                                          Judge: Hon. David O. Carter
20                                          Magistrate Judge: Hon. Douglas F.
                                            McCormick
21
                                            Crtrm.: 9D
22                                          Trial Date: not set

23

24

25

26   PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 1
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26   PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 5
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 1
                                       INTRODUCTION
 2
           The Committee seems to be of the view that Dr. Eastman was a scholar for
 3
     hire – and that all of the personal and professional “papers and effects” he
 4
     produced while a law professor are actually owned by the University and not him.
 5
     See opp. At 1 (“on its own email system”). But the University is not a scholar-for-
 6
     hire corporate entity like the Rand Corporation. It is an academic institution, and it
 7
     expressly adheres to AAUP (American Association of University Professors)
 8
     principles of academic freedom. The University’s servers, by custom and
 9
     reasonable expectation, are therefore more like the servers of an Internet Service
10
     Provider than the servers of an ordinary business.
11
           Moreover, to treat the mere use of those servers, as the Committee appears
12
     to do, as affecting a waiver of client privileges would place every clinical professor
13
     (law, medical, psychiatric, etc.) in violation of their ethical duties of confidentiality
14
     to clients. The same would be true for law professors such as Dr. Eastman who, in
15
     addition to his duties as a supervising attorney of a law school clinic, undertakes –
16
     with the full blessing and encouragement of the University – to meet his
17
     contractual obligations for scholarship and service by taking on outside clients,
18
     utilizing his professional email for the purpose.
19
           These issues raise extremely complicated legal questions that warrant more
20
     thorough briefing and hearing that could be managed on the short time fuse
21
     afforded by the Committee’s subpoena.1 Those issues include:
22

23   1
    If the Committee were to argue that Dr. Eastman has known for months that it
24
   might seek his records held in archives by the University, he should nevertheless
   not be faulted for declining to incur tens of thousands of dollars in legal fees based
25 on speculation of what the Committee might do. Nor did he know the full scope of

26   PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 6
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 1
           • Who owns the private and professional email and documents generated
 2
               by law school professors using University computers and email;
 3
           • Whether the mere use of University equipment and email systems
 4
               constitutes a waiver of attorney-client privilege;
 5
           • Whether the Committee’s subpoena, which seeks all of Dr. Eastman
 6
               communications “relating to the election”—an area of core First
 7
               Amendment concern—threatens to chill the political speech and
 8
               association of Dr. Eastman and those communicating with him;2
 9
           • Whether the Committee’s expansive, dragnet-like subpoena for all
10
               records “related to the election” is effectively a general warrant, barred
11
               by the Fourth Amendment;
12
           • Whether the Committee’s subpoena, which seeks information far
13
               removed from the events of January 6 that it has been tasked with
14
               assessing, is for prohibited law enforcement purposes even while other
15
               inquiries undertaken by the Committee might validly qualify for
16
               legislative purposes, under basic separation-of-powers principles.
17

18

19
   the intrusion on his personal and professional papers and effects until he was
20 provided with a copy of the subpoena at 2:31 pm on Wednesday, January 19—just
   over 40 hours from the return date specified in the subpoena.
21   2
     The Committee notes that although Dr. Eastman has alleged constitutional claims
22 under the First and Fourth Amendments in his complaint, he did not assert such
   claims in his TRO papers. But the focus of the TRO was to provide a temporary
23 halt so that the more extensive issues raised by the complaint could be adjudicated
   on a proper timeline. For that, Dr. Eastman’s TRO papers focus on the allegations
24 in his complaint where the irreparable injury caused by disclosure was most
   obvious, namely, the confidences of his clients and his own attorney work product.
25

26   PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 7
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 1
            Given the constitutional significance of these issues, the TRO should remain
 2
     in effect and a briefing schedule set that would allow the parties to brief them, and
 3
     for the court to consider them, on a timetable more suitable to the issues presented
 4
     by the Committee’s subpoena.
 5
                                          ARGUMENT
 6
            I.     Attorney Client Privilege
 7                 a. The Congressional Defendants Themselves Have Deprived Dr.
                      Eastman of the Ability to Advance Specific Privilege Claims in
 8
                      Response to the Subpoena
 9
            The defendants first argue that Dr. Eastman has not made a proper privilege
10
     claim because he has failed to provide a detailed list of specific privileged
11
     materials. Resp. at 19-20. In support of this argument, the defendants cite
12
     inapposite cases while ignoring the fact that the defendants themselves have
13
     deprived Dr. Eastman of any opportunity to make such claims.
14
            In early December, after serving Dr. Eastman with a subpoena to appear
15
     before the select committee, counsel for the committee requested that Dr. Eastman
16
     cooperate in a voluntary surrender of the Chapman materials. Dr. Eastman
17
     declined to surrender the Chapman materials voluntarily, as was his right.
18
     Declining to surrender the Chapman materials does not deprive Dr. Eastman’s
19
     clients of their privilege rights.
20
            Some six weeks after these discussions, the committee served a subpoena on
21
     Chapman University on January 18 with a return date of January 21 at 10a.m.
22
     Counsel for Chapman notified undersigned counsel of the subpoena. At
23
     undersigned counsel’s urging, counsel for Chapman requested permission from the
24

25

26   PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 8
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 1
     committee to deliver the materials to Dr. Eastman for a privilege review. The
 2
     committee declined this request.3
 3
           Having declined to afford Dr. Eastman a reasonable opportunity to do a
 4
     proper privilege review of the requested materials, the defendants now accuse Dr.
 5
     Eastman of making an improper “blanket waiver,” citing a collection of cases
 6
     bearing no relation to the current factual scenario. Understandably, the defendants
 7
     do not address how Dr. Eastman could possibly have constructed a detailed
 8
     privilege claim in roughly 48 hours for 18,925 responsive documents which the
 9
     defendants refused to let him see. Chapman Resp. Ex. 1 ¶ 8; cf. Fed. R. Civ. Pro.
10
     45 (district court may quash subpoena that “fails to allow a reasonable time to
11
     comply”); Whole Woman’s Health v. Paxton, 2017 WL 4855392 (D. Hawai’i)
12
     (quashing deposition subpoena which allowed 6 days to comply).
13
           The congressional defendants’ own statements implicitly concede the
14
     seemingly obvious facts that Dr. Eastman represented clients while employed at
15
     Chapman and that those representations generated privileged material which
16
     remains in Chapman’s possession. With respect to former President Trump, the
17
     defendants make a waiver argument explicitly relying on a Chapman press release
18
     which states, “John Eastman is representing President Trump in an action before
19

20   3
       Congress’s conduct in this case can be usefully compared with other examples of
     investigative intrusions into the attorney client relationship. In, In re Search
21   Warrant, the government searched a law firm pursuant to warrant. 942 F.3d 159
22   (4th Cir. 2019). The warrant contained fairly substantial “taint team” provisions
     whereby prosecutors not involved in the case would review for privilege. Id. at
23   165-66. The court reversed, finding that the government’s procedures gave
     inadequate protection to privilege. Id. at 183. Here, Congress has made no
24   provision for protecting privileged materials, let alone one which rises to the
     standard demanded by In re Search Warrant.
25

26   PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 9
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 1
      the Supreme Court. In that filing, the Chapman physical address, a Chapman
 2
      email and phone number were used.” Resp. at 23. As the response also states, the
 3
      select committee emailed undersigned counsel regarding Chapman emails, “so that
 4
      Eastman could review and produce responsive emails along with a privilege log.”
 5
      Resp. at 6. These and other statements by the defendants concede that privileged
 6
      materials continue to exist in Chapman’s files.
 7
              Moreover, as the congressional defendants are presumably aware, Chapman
 8
      University to this day advertises legal work done by Dr. Eastman under Chapman’s
 9
      auspices and using Chapman resources. In a description of a legal clinic which Dr.
10
      Eastman ran until 2021, Chapman’s website states:
11
              Most significantly, clinic briefs have been cited by appellate judges
12
              and Supreme Court Justices in their opinions. Justice Alito cited the
13
              clinic’s brief in his concurring opinion in Espinoza v. Montana
14
              Department of Revenue, 140 S.Ct. 2246, 2268 (2020) (Alito, J.,
15
              concurring), and Justice Thomas cited the clinic’s brief in his
16
              dissenting opinion in Arizona v. The Inter Tribal Council of Arizona,
17
              570 U.S. 1, 30 (2013) (Thomas, J. dissenting). The clinic’s brief in
18
              another case was cited by Ninth Circuit Judge N. R. Smith in his
19
              dissent in American Trucking Associations v. City of Los Angeles, 660
20
              F.3d 384, 412 (9th Cir. 2011) (N.R. Smith, dissenting).4
21
              All of these representations (and others) were undertaken by Dr. Eastman
22
      while a professor at Chapman and the publicly available filings bear Chapman
23

24
      4
          https://www.chapman.edu/law/legal-clinics/jurisprudence.aspx.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 10
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 1
      phone numbers, addresses, and emails. The government’s protestations to the
 2
      contrary notwithstanding, there can be no reasonable dispute that the subpoenaed
 3
      materials contain privileged materials.5
 4
            II.    Dr. Eastman’s Privilege Claims Have Not Been Waived
 5
                   a. Chapman University’s Email policies
 6
            The congressional defendants’ first contention that Dr. Eastman’s privilege
 7
      claims have been waived is the fact that the communications were made using
 8
      Chapman’s email system. They rely primarily on Doe I v. George Washington
 9
      Univ., 480 F. Supp. 3d 224 (D.D.C. 2020), which unlike the present case, involved
10
      use by students of the University’s email system, not use by law professors whose
11
      contractual duties include client representations. That distinction is of great
12
      significance, as it supports Dr. Eastman’s claim that he had a subjective
13
      expectation of confidentiality in his communications with or related to clients and
14
      prospective clients, and that his expectation of confidentiality is objectively
15
      reasonable. Id. at 226. The more relevant case is therefore the other case relied
16
      upon (somewhat inexplicably) by the congressional defendants, Convertino v. U.S.
17
      Dep’t of Just., 674 F. Supp. 2d 97 (D.D.C. 2009). In that case, the same court that
18
      decided Doe I held that a Department of Justice employee’s emails to his outside
19
      private attorney, using the Department’s email system, retained their attorney-
20
      client privilege. “Although DOJ does have access to personal e-mails sent through
21

22   In drafting his TRO, Dr. Eastman relied on the select committee’s repeated
      5

   assertions that the Chapman materials would be the proper subject of a privilege
23 log. However, the congressional defendants have now essentially taken the
   position that no such privileged materials exist. To respond to that abrupt reversal
24 of position, and out of an abundance of causation, Dr. Eastman offers the attached
   declaration.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 11
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 1
      his account, Mr. Turkel was unaware that they would be regularly accessing and
 2
      saving emails sent from his account,” the Court noted. Id. at 110. As Chapman
 3
      itself acknowledges, and just like the DOJ in Convertino, “Chapman does not
 4
      make a practice of monitoring email” even though it reserves the right the right to
 5
      retrieve the contents of emails “for legitimate reasons, such as to find lost
 6
      messages, to comply with investigations of wrongful acts, to respond to subpoenas,
 7
      or to recover from system failure.” DuMontelle Decl. ¶ 5. It is Dr. Eastman’s
 8
      contention, and his subjective expectation, that such “legitimate reasons” would
 9
      not include the University accessing emails protected by attorney-client and work
10
      product privileges without his authorization. Were the rule otherwise, then every
11
      single clinical professor—whether in the law school or in other departments with
12
      clients or patients—would be in breach of their ethical duties to protect client and
13
      patient confidences. See, e.g., California Rules of Professional Conduct 3-100(A)
14
      (“A member shall not reveal information protected from disclosure by Business
15
      and Professions Code section 6068, subdivision (e)(1) without the informed
16
      consent of the client, …”); Cal. Evid. Code § 995 (describing physician’s
17
      obligation to assert privilege on behalf of his patient’s confidential
18
      communications); Cal. Evid. Code § 1015 (same re psychotherapist obligation).
19
      See also, generally, Gregory C. Sisk & Nicholas Halbur, A Ticking Time Bomb?
20
      University Data Privacy Policies and Attorney-Client Confidentiality in Law
21
      School Settings, 2010 Utah L. Rev. 1277, 1293-94 (2010) (concluding that
22
      “attorneys practicing in the university law school environment may well be able to
23
      distinguish [cases in corporate settings] and successfully overcome a challenge to
24
      the privilege, even if the university does maintain a formal data privacy policy
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 12
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 1
      reciting that users have no expectation of privacy in data on university computers
 2
      or messages sent through university networks.)
 3
            That Chapman has a policy—and perhaps even a banner warning6 —
 4
      announcing that emails sent across its system are subject to monitoring for certain
 5
      specified purposes does not defeat Dr. Eastman’s reasonable expectation of
 6
      confidentiality. Other cases involving similar banner warnings in circumstances
 7
      where the expectation of privacy would be even lower than in a University setting
 8
      with its strong commitment to academic freedom, have held that such a warning
 9
      does not necessarily give rise to a waiver of confidentiality. United States v. Long,
10
      64 M.J. 57 (C.A.A.F. 2006), is particularly salient. There, the Court of Appeals for
11
      the Armed Forces held that a member of the military had a reasonable expectation
12
      of privacy in emails she sent and received using the Department of Defense’s email
13
      system, and which were stored on that system. There, like Chapman claims to be
14
      the case here, a banner appeared anytime a user logged on to the system notifying
15
      the user that the system was “provided only for authorized U.S. Government use”
16
      and that it “may be monitored for all lawful purposes, including to ensure that their
17
      use is authorized, for management of the system, to facilitate protection against
18
      unauthorized access, and to verify security procedures, survivability and
19
      operational security.” Id. at 60. Yet the Court nevertheless upheld the service
20
      member’s expectation of privacy in the personal emails she sent using the
21

22   Dr. Eastman disputes Chapman’s claim that a “splash screen” message appeared
      6

   “every time Eastman logged on to Chapman’s network.” During his employment
23 at Chapman, Dr. Eastman used a laptop computer, connecting through the
   University’s VPN. To his recollection, no such message ever appeared when he
24 logged on to the network in that fashion, or when he accessed his Chapman email
   account via Outlook.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 13
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 1
      government system. There, as here, each individual user “had his or her own
 2
      unique password known only to them.” Id. There, as here, users were told to
 3
      change passwords frequently. Id. There, as here, network administrators did not
 4
      have access to individual users’ passwords, id., but could access the entire
 5
      network, including personal email. If that was good enough for the expectation of
 6
      confidentiality to be deemed reasonable in the context of the military and highly-
 7
      secure Department of Defense computers, surely it is sufficient for Dr. Eastman’s
 8
      expectation of confidentiality to be deemed reasonable in the context of a private
 9
      University in which his duties included representation of clinic and other clients.
10
            Defendant Chapman also intimates that Dr. Eastman’s use of the
11
      University’s email system was “unauthorized.” Chapman Opp. at 4. The
12
      congressional defendants take that intimation as an “indisputably” proven fact.
13
      Cong. Opp. at 22. It is not. Dr. Eastman’s duties specifically included
14
      representation of clients, both through the law school clinic and outside clients
15
      through the Center for Constitutional Jurisprudence, a public interest law firm he
16
      operated in affiliation with a separate non-profit organization, the Claremont
17
      Institute. Eastman Decl. ¶ 5 and Ex. 1. (employment contract in which Chapman
18
      expressly “acknowledges that, separate and apart from his employment as a
19
      Faculty Member, Faculty Member may also direct a Center for Constitutional
20
      Litigation ….” (emphasis added)). Like other law faculty, Dr. Eastman’s
21
      promotion and tenure decisions, and his annual performance reviews and merit pay
22
      increases, were based in part on scholarship and service that expressly included
23
      representation of outside clients in matters related to his scholarship or that served
24
      the public interest. That Dr. Eastman’s election integrity work at issue here easily
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 14
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 1
      qualified under established University practice is not speculative, but fully
 2
      supported by nearly identical outside work Dr. Eastman performed early in his
 3
      career at Chapman in the aftermath of the 2000 presidential election. Then, as
 4
      now, he provided pro bono legal work in election challenges,7 gave expert
 5
      testimony to a state legislature,8 and was even retained by the state legislature to
 6
      help craft legislation to protect its electoral votes. Eastman Decl. ¶ 6. For that
 7
      “outside” work, Dr. Eastman utilized his Chapman address and Chapman email.
 8
      He even utilized the research services of Chapman’s library and Chapman
 9
      students. Far from being chastised for engaging in “unauthorized” work using
10
      Chapman’s resources, Chapman praised Dr. Eastman’s work, the national
11

12

13
      7
        Chapman’s General Counsel intimates that such work may run afoul of IRS
14    prohibitions on electioneering activity. DuMontelle Decl. ¶ 3; see also Chapman
      Br. at 3. But the IRS prohibits non-profit organizations like Chapman “from
15    directly or indirectly participating in, or intervening in, any political campaign on
16
      behalf of (or in opposition to) any candidate for elective public office.” It
      identifies “[c]ontributions to political campaign funds or public statements of
17    position (verbal or written) made on behalf of the organization in favor of or in
      opposition to any candidate for public office” as things that “clearly violate the
18    prohibition against political campaign activity.” It does not mention post-election
      legal disputes over election integrity, and we are aware of no instance where the
19
      IRS has challenged a University’s non-profit status because its law faculty have
20    participated as counsel in post-election litigation despite that having occurred in
      some rather high-profile matters. See, e.g., Brief of Respondent Albert Gore, Jr.,
21    Bush v. Gore, No. 00-949 (S.Ct. 2000) (listing Harvard Law Professor Laurence
      Tribe as “counsel of record” and depicting his official Harvard University office
22    address).
      8
23  See Florida Legislature Select Joint Committee on the 2000 Presidential Election,
   Hearing on the Matter of the Appointment of Presidential Electors (Nov. 29, 2000),
24 available at https://www.c-span.org/video/?160847-1/manner-appointment-
   presidential-electors (last visited Jan. 22, 2022).
25

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 1
      recognition of his expertise that it reflected, and the phenomenal opportunity it
 2
      provided to his students.
 3
             Even if Dr. Eastman’s work here was somehow “unauthorized” under
 4
      Chapman’s post-hoc interpretation of its rules, however, such would be irrelevant
 5
      to the issue of whether Dr. Eastman and, as importantly, his clients, had a
 6
      reasonable expectation of confidentiality in his email communications sent and
 7
      received using Chapman’s email system. The privilege is held by the client, after
 8
      all. Cal. Evid. Code § 953; Hunt v. Blackburn, 128 U.S. 464, 470 (1888) (“the
 9
      privilege is that of the client alone”).
10
                    b. Dr. Eastman’s Public Statements About his Representation of
11                     President Trump Do Not Even Waive Privilege as to President
12                     Trump, Let Alone His Other Clients
             The congressional defendants also argue that because Dr. Eastman has
13
      spoken publicly about his representation of former President Trump, “the [attorney
14

15
      client] privilege would nonetheless be waived.” Resp. at 29. As an initial matter,

16
      these arguments apply only to Dr. Eastman’s representation of the former President

17    and have no application to his other representations or potential representations

18    during the subpoena period, such as the clinic representations mentioned above.

19    However, even with respect to President Trump, the statements provide no basis to

20    authorize a wholesale invasion of the attorney client relationship by the

21    congressional defendants.

22           As an initial matter, it is by no means clear that any statements by Dr.

23    Eastman about President Trump revealed any privileged material, let alone a

24    complete waiver of such material, as the defendants contend. A lawyer’s duty to

25

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 1
      protect a client’s information is broader than the duty to protect privileged
 2
      information. As California Rule of Professional Conduct Rule 1.6 states:
 3
            The principle of lawyer-client confidentiality applies to information a
 4
            lawyer acquires by virtue of the representation, whatever its source,
 5
            and encompasses matters communicated in confidence by the client,
 6
            and therefore protected by the lawyer-client privilege, matters
 7
            protected by the work product doctrine, and matters protected under
 8
            ethical standards of confidentiality, as established in law, rule and
 9
            policy.
10
      Id. at n. 2 (and cases cited therein, e.g. Goldstein v. Lees, 46 Cal.App. 3d 614, 621
11
      (1975) (italics added).
12
            The statements about President Trump attributed to Dr. Eastman by the
13
      defendants make no reference to privilege. See, e.g., Resp. at 28 (Dr. Eastman’s
14
      statement to Bob Woodward that the President had authorized him to “talk about
15
      these things.”). In fact, the defendants are only able to give Dr. Eastman’s public
16
      statements the superficial appearance of privilege waivers by omitting highly
17
      relevant facts. For example, the defendants attempt to characterize Dr. Eastman’s
18
      statement on the Peter Boyles Show that he had authority from the President to
19
      discuss a “private conversation” as some kind of waiver. Resp. at 20.
20
      Conveniently omitted by defendants are Dr. Eastman’s statements in the very same
21
      interview that the conversation in question occurred in the presence of three non-
22
      clients in addition the President.9 The “private conversation” of which Dr.
23

24
    To hear Dr. Eastman’s description of this conversation, the reader is referred to
      9

25 minutes 12:00 – 15:00 of the podcast cited in the defendants’ brief. Peter Boyles

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 1
      Eastman spoke was therefore obviously unprivileged. The defendants attempt to
 2
      characterize Dr. Eastman’s discussion of a non-privileged conversation as
 3
      somehow a waiver of attorney client privilege is misleading in the extreme.
 4
              At most, the statements show that President had authorized Dr. Eastman to
 5
      disclose a limited amount of confidential information. They provide this Court no
 6
      basis to hold that Dr. Eastman has made any sort of privilege waiver with respect
 7
      to former President Trump.
 8
            Even if Dr. Eastman had disclosed some sort of privileged information about
 9
      the former President, it would be at most a limited waiver. Courts have long
10
      recognized that disclosure of privileged information on a particular subject does
11
      not necessarily imply a complete waiver of the privilege. See, e.g., Weil v.
12
      Investment/Indicators, Research and Management, Inc., 647 F.2d 18, 25 (9th Cir.
13
      1981) (“We conclude, therefore, that the fund has waived its attorney-client
14
      privilege...only as to communications about the matter actually disclosed.”). It is
15
      publicly known that Dr. Eastman represented President Trump in several matters
16
      during the subpoena period. The government has merely quoted statements from
17
      Dr. Eastman relating to a legal memorandum and an unspecified “private
18
      conversation.” No reasonable interpretation of these statements could construe
19
      them as a total waiver of privilege between Dr. Eastman and the former president.
20

21

22

23

24    Show, 710KNUS News/Talk (May 5, 2021) (available
      https://omny.fm/shows/peter-boyles-show/peter-boyles-may-5-8am-1)
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 18
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 1          III.   The Subpoena is Likely to Reach Documents Covered by
                   Attorney Work Product Privilege
 2
            In addition to confidential attorney client communications, the challenged
 3
      subpoena encompasses attorney work product information. Seventy years of
 4
      precedent make clear that the work product privilege allows lawyers to “work with
 5
      a certain degree of privacy, free from unnecessary intrusion by opposing parties
 6
      and their counsel.” Hickman v. Taylor, 329 U.S. 495, 510 (1947). “Proper
 7
      preparation of a client’s case demands that [a lawyer] assemble information, sift
 8
      what he considers to be the relevant from the irrelevant facts, prepare his legal
 9
      theories and plan his strategy without undue and needless interference.” Id. at 511.
10
      The Supreme Court warned that undermining this protection may lead to
11
      “[i]nefficiency, unfairness and sharp practices would inevitably develop in the
12
      giving of legal advice and in the preparation of cases for trial,” all to the detriment
13
      of clients and “the cause of justice.” Id.
14

15
            “As with [Dr. Eastman’s] claim of attorney-client privilege,” the inability to

16
      “make anything more than an unparticularized, blanket assertion that work product

17
      protection applies,” Opp. at 23, is due Dr. Eastman’s inability to access, much less

18    examine, approximately 19,000 documents in 44 hours. Indeed, extending the TRO

19    is necessary if only to show that the government may not overcome attorney client

20    and work product privileges simply by giving attorneys no time to offer a

21    particularized response. Identification of documents “prepared in anticipation of

22    litigation,” In re California Pub. Utils. Comm’n, 892 F.2d 778, 780–81 (9th Cir.

23    1989), cannot be done under this timeframe, demonstrating that an extension of the

24    TRO is at least necessary to review the documents.

25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 19
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 1
            Implicitly acknowledging that such particularized identification is
 2
      impossible, defendants’ make a generalized waiver argument when law professors
 3
      use of university email servers is inherently a waiver. Defendants argue that use of
 4
      Chapman’s email system is a banket waiver of the privilege.
 5
            This waiver argument fails for two reasons. First, third party “disclosure”
 6
      only waives work product protections where, as Defendants acknowledge, “such
 7
      disclosure, under the circumstances, is inconsistent with the maintenance of
 8
      secrecy from the disclosing party’s adversary” or “conduit to an adversary.” Opp.
 9
      at 24 (quoting Sanmina Corp., 968 F.3d 1107, 1121 (9th Cir. 2020)). Chapman was
10
      not a conduit to an adversary and Dr. Eastman retained a “reasonable expectation
11
      of confidentiality” in his work product regardless of his use of Chapman servers.
12
      Second, the “fact-intensive analysis,” id., required to determine waiver actually
13
      supports extending the restraining order.
14
            The “conduit of an adversary” analysis is divided into two parts:
15
            The first inquiry is “whether the disclosing party has engaged in self-
16
            interested selective disclosure by revealing its work product to some
17
            adversaries but not to others.” If so, “[s]uch conduct militates in favor
18
            of waiver” based on fairness concerns. The second inquiry is “whether
19
            the disclosing party had a reasonable basis for believing that the
20
            recipient would keep the disclosed material confidential.”
21
      Sanmina Corp., 968 F.3d at 1121 (citations omitted) (quoting United States v.
22
      Deloitte LLP, 610 F.3d 129, 141 (D.C. Cir. 2010)).
23
            Chapman is not a conduit to an adversary. As an initial matter, Defendant’s
24
      contention that Dr. Eastman’s work for then-President Trump necessarily predicted
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 20
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 1
      an adversarial confrontation with Congress would not apply to Dr. Eastman’s other
 2
      clients.10 Second, even if this one client controls the analysis, the conduit analysis
 3
      relies on revelation to some adversaries but not others. While Congressional
 4
      defendants suggest that they were a foreseeable adversary, Chapman was not a
 5
      foreseeable at the time of disclosure. In fact, Chapman is only an adversary now
 6
      because Congress subpoenaed it. It turns the analysis on its head to suggest that
 7
      work product may be shared with some entity that becomes an adversary by the
 8
      mere fact of receiving a subpoena from the real adversary. Chapman’s access to
 9
      the work product materials, even excepting Dr. Eastman’s reasonable expectation
10
      of privacy in those materials, is therefore, not a “self-interested selective
11
      disclosure.” Id.11 This is particularly true where, as here, Dr. Eastman had every
12
      reason to suspect Chapman “would keep the disclosed material confidential.” Id.
13
            If anything, Chapman and Dr. Eastman’s interests align with respect to at
14
      least some of the effected clients. “A reasonable expectation of confidentiality may
15
      derive from common litigation interests between the disclosing party and the
16
      recipient.” Deloitte LLP, 610 F.3d at 141. Dr. Eastman’s clinic work was run with
17
      the blessing and imprimatur of Chapman University. As previously explained,
18
      Chapman continues to advertise Dr. Eastman’s successes. Chapman also
19
      encouraged scholarly pursuits which, in legal academia, could include
20
      10
21    This exclusive focus on representation of then-President Trump suggests that the
   Chapman subpoena is designed to defeat the former President’s right to attorney
22 client privilege and that the committee is not interested in other clients.

23   Defendant’s fairness argument, Opp. at 26, similarly fails because Dr. Eastman
      11

   did not disclose to some parties while leaving others at an unfair advantage.
24 Chapman is not a party. Nor have defendant’s alleged that Dr. Eastman selectively
   disclosed part of his work product while withholding the rest.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 21
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 1
      representation of outside clients. See generally Gregory C. Sisk & Nicholas
 2
      Halbur, A Ticking Time Bomb? University Data Privacy Policies and Attorney-
 3
      Client Confidentiality in Law School Settings, 2010 Utah L. Rev. 1277.
 4
            Moreover, California privilege law gives Dr. Eastman a basis reasonably to
 5
      assume work product will remain confidential regardless of electronic storage.
 6
      Interpreting Chapman’s email policy in the manner defendants suggest would
 7
      assume that Chapman is eager to violate California state privilege law — an
 8
      assumption that has no basis. In California, work product protections remain
 9
      regardless of how a document is stored. As Justice Liu explained:
10
            California’s civil work product privilege is codified in section
11
            2018.030. Subdivision (a) provides absolute protection to any “writing
12
            that reflects an attorney's impressions, conclusions, opinions, or legal
13
            research or theories.” (§ 2018.030, subd. (a).) Such a writing “is not
14
            discoverable under any circumstances.” (Ibid.) The term “writing”
15
            includes any form of recorded information . . .. (§ 2016.020, subd. (c)
16
            [adopting the definition set forth in Evidence Code section 250].)
17
      Coito v. Superior Ct., 278 P.3d 860, 864 (Cal. 2012). Under California law:
18
            “Writing” means handwriting, typewriting, printing, photostating,
19
            photographing, photocopying, transmitting by electronic mail or
20
            facsimile, and every other means of recording upon any tangible
21
            thing, any form of communication or representation, including letters,
22
            words, pictures, sounds, or symbols, or combinations thereof, and any
23
            record thereby created, regardless of the manner in which the record
24
            has been stored.
25

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 1
      Cal. Evid. Code § 250 (West) (emphasis added); see also Tucker Ellis LLP v.
 2
      Superior Ct. (Nelson), 220 Cal. Rptr. 3d 382, 388 (Cal. Ct. App. 2017). Therefore,
 3
      privilege is retained regardless of individual policies of storage providers.
 4
            This is not to suggest that this Court is bound by state law on the final
 5
      determination, but to show that Dr. Eastman (a California attorney) would not
 6
      expect use of his Chapman University (a California institution) email to be “under
 7
      the circumstances” of California law “inconsistent with the maintenance of
 8
      secrecy.” Sanmina Corp., 968 F.3d at 1121. Instead, Dr. Eastman retained a
 9
      “reasonable expectation of confidentiality.” Id.
10
            Dr. Eastman, therefore, exercised due care in maintaining the secrecy of his
11
      attorney work product.
12
            Second, as defendants note, finding waiver requires “fact-intensive analysis”
13
      considering “the totality of the circumstances” that is “ultimately guided by the
14
      same principle of fundamental fairness that underlies much of our common law
15
      doctrine on waiver by implication.” Sanmina Corp., 968 F.3d at 1122; Opp. at 24.
16
      No such “fact-intensive analysis” has taken or can take place under this procedural
17
      posture. As yet, only the university is in a position to do any analysis of individual
18
      documents. Discovery is necessary to determine at the least, which documents
19
      were created in the course of work for the university, e.g., law clinics. And
20
      assuming arguendo that the university privacy policy controls, it contains
21
      exceptions for outside work “authorized, in writing or by e-mail, by the
22
      University” or work “in connection with scholarly, creative or community service
23
      activities” that benefits “organizations not related to the University.” Decl. of
24

25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 23
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 1
      Janine P. DuMontelle ¶ 5. More time is needed to conduct a proper fact inquiry
 2
      into the uses of such work.
 3
            IV.    The Select Committee is Organized Contrary to its Authorizing
 4                 Resolution, and Although It Has Some Valid Legislative Purposes,
                   the Supoena At Issue Here Is Not in Furtherance of Them.
 5
                   a. The Committee’s membership is contrary to its authorizing
 6
                      resolution
 7
            The congressional defendants claim that H.Res. 503 authorized Speaker
 8
      Pelosi to appoint “up to 13 members” to the Select Committee. That is not what
 9
      the Resolution says, however. Section 2 unambiguously provides that “The
10
      Speaker shall appoint 13 Members to the Select Committee, 5 of whom shall be
11
      appointed after consultation with the minority leader.” H.Res. 503 (emphasis
12
      added). Shall is mandatory an unambiguous, and the text nowhere authorizes a
13
      lesser number, or “up to 13,” as the congressional defendants claim.
14
            The cases on which the congressional defendants rely for judicial deference
15
      to the House’s interpretation of its own rules involve circumstances where the rule
16
      was “ambiguous.” In United States v. Rostenkowski, for example, the D.C. Circuit
17
      noted (as the congressional defendants themselves acknowledge) that the
18
      Constitution’s “Rulemaking Clause is not an absolute bar to judicial interpretation
19
      of the House Rules,” even though “judicial interpretation of an ambiguous rule
20
      runs the risk of the court intruding into the sphere of influence reserved to the
21
      legislative branch.” 59 F.3d 1291, 1305 (D.C. Cir. 1995) (emphasis added).
22
      Similarly, and again as the congressional defendants noted, “a court may interpret
23
      internal rules of a House of Congress only where such interpretation ‘requires no
24
      resolution of ambiguities.’” Cong. Opp. at 8-9 (quoting United States v.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 24
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 1
      Durenberger, 48 F.3d 1239, 1244 (D.C. Cir. 1995) (second emphasis added).
 2
      Because there is nothing ambiguous about “shall appoint 13 members,” those cases
 3
      actually acknowledge the judiciary’s role in enforcing unambiguous rules, as are at
 4
      issue here. And there is no dispute that 13 members of the Committee were not
 5
      appointed; this is not a case, therefore, of vacancies arising after the appointment.
 6
               Whether the Resolution’s use of “consultation” rather than
 7
      “recommendation” in the second requirement that “5 of whom shall be appointed
 8
      after consultation with the minority leader” concededly presents a closer call, but
 9
      the use of the mandatory “shall be appointed” suggests more than a perfunctory
10
      consultation that was then ignored by the Speaker who instead chose, on her own,
11
      two Members who were neither recommended by the minority leader nor consulted
12
      about.
13
               This is not a mere procedural quirk. The longstanding historical practice of
14
      bipartisanship on controversial committees is designed to ensure fairness in the
15
      legislative process and prevent it from being hijacked for hyper-partisan ends, to
16
      the extent possible. It is also why the GOP’s own caucus rules mandate a role for
17
      the caucus in the choosing of its own ranking minority members. Although the
18
      GOP Caucus’s Rule 11 addresses GOP steering committee recommendations for
19
      committee chairs and ranking members of standing committees, Rule 14, on which
20
      Plaintiff relied in his opening brief, is not textually so limited.
21

22                   b. The Committee’s Law Enforcement Purpose
               The congressional defendants highlight portions of the resolution that
23
      identify potential legislation that might be proposed as a result of the Select
24
      Committee’s investigations. With that, Dr. Eastman has no dispute. But as the
25

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 1
      congressional defendants appear to concede, the issue is whether the particular
 2
      subpoena at issue serves the stated legislative purposes. See Cong. Opp. at 14
 3
      (““In determining the proper scope of a legislative subpoena, this Court may only
 4
      inquire as to whether the documents sought by the subpoena are not plainly
 5
      incompetent or irrelevant to any lawful purpose …” (emphasis added)). It is hard
 6
      to fathom how the subpoena’s demand for “all documents…attributable to Dr.
 7
      John Eastman, that are related in any way to the 2020 election” has even a remote
 8
      connection to the stated legislative purposes to prevent future acts of violence, to
 9
      improve security at the Capitol, and to strengthen security and resilience of the
10
      United States and its democratic institutions against violence. The congressional
11
      defendants have offered no evidence, much less evidence that would amount to
12
      probable cause, tying Dr. Eastman to anyone who engaged in violence on January
13
      6, 2021. As the Supreme Court noted in Watkins, its decision in “United States v.
14
      Rumely makes it plain that the mere semblance of legislative purpose would not
15
      justify an inquiry in the face of the Bill of Rights.” Watkins v. United States, 354
16
      U.S. 178, 198 (1957) (citing United States v. Rumely, 345 U.S. 41 (1953)).
17
            V.     Plaintiff and His Clients Will Suffer Irreparable Harm Absent
18
                   Court Action
19
            Dr. Eastman and his clients will suffer irreparable harm if the TRO is not
20
      extended. Defendants, relying on In re Excel Innovations, Inc., 502 F.3d 1086,
21
      1098 (9th Cir. 2007), suggest that Dr. Eastman has not made a specific showing
22
      that harm will result. Resp. at 28. This case is inapposite. In Excel Innovations, the
23
      party seeking an injunction submitted an affidavit from a former CEO suggesting
24
      that privileged information would come up in an arbitration proceeding. 502 F.3d
25

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 1
      at 1091–92. While this was speculative, Dr. Eastman’s claim is on solid ground.
 2
      Defendants acknowledge that the subpoena is targeting Dr. Eastman because of his
 3
      role representing Donald Trump. All acknowledge that Dr. Eastman is an attorney
 4
      and represented clients. See Resp. at 16 (citing article referring to Dr. Eastman as
 5
      “Trump Lawyer”).12 As previously mentioned Chapman publicized Dr. Eastman’s
 6
      clinic work. And, unlike in Excel Innovations, where the client information in
 7
      question was likely unprivileged, the subpoena here seeks clearly privileged
 8
      information. See Mem. Ex. 2, at 4. The harm to attorney client privilege is not a
 9
      plausibility but a certainty.
10
            In cases where lawyers’ documents specifically are at issue, courts routinely
11
      recognize that breach of privilege is an irreparable harm. In re Search Warrant
12
      Issued June 13, 2019, 942 F.3d 159, 175 (4th Cir. 2019), as amended (Oct. 31,
13
      2019); Klitzman, Klitzman & Gallagher v. Krut, 744 F.2d 955, 960–61 (3d Cir.
14
      1984) (ruling that law firm had demonstrated likelihood of irreparable harm where
15
      government seized thousands of files containing privileged information).
16
            Breaching a privilege is a bell that cannot be unrung. It should not be done
17
      lightly and definitely should not be done without thorough review of the facts.
18

19
            VI.    Balance of Equities and Public Interest
            Simply put, the only harm to defendants is delay. Delay, even in actions as
20
      important as criminal investigations, “does not outweigh the harm to [a lawyer]
21
      and [his] clients caused by” an unfiltered seizure of all electronic materials. In re
22
      Search Warrant, 942 F.3d at 182 (enjoining that the government’s decision to use
23

24    12
        To the extent these facts are now in issue, Dr. Eastman includes an affidavit
      confirming them.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 27
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 1
      filter team of AUSA’s on privileged communications). All documents will still be
 2
      available once proper discovery and resolution of complex legal questions has
 3
      occurred.
 4
            The harm to the public is, in contrast, imminent. Representation of clients by
 5
      law professors using university resources is common practice.13 See generally Sisk
 6
      and Halbur, supra. Granting the Defendants’ access to Dr. Eastman’s privileged
 7
      materials would throw this important area of representation into doubt.
 8
            VII. Other Arguments
 9
            Dr. Eastman maintains all the claims in the complaint including the claims
10
      that that the subpoena was issued in violation of House Rules; that subpoena
11
      constitutes an unconstitutional “general warrant” under the Fourth Amendment;
12
      and the subpoena infringes on protected First Amendment activity.
13
            These issues are novel and complex and warrant thorough briefing in their
14
      own right. Because of the timeline of this case, Dr. Eastman focuses largely on the
15
      attorney client privilege issues presented by the government’s subpoena to provide
16
      this Court with the most thorough treatment possible. Those issues are most clear
17
      cut, most obviously favor the plaintiff, and are the most logical basis to extend this
18
      Court’s TRO to allow for proper briefing of the remaining issues preparatory to a
19
      permanent and/or preliminary injunction hearing.
20

21

22

23
      13
        Indeed, Committee member Rep. Jamie Raskin represented clients under the
24    auspices of American University while a professor at that institution, accordingly
      to publicly available PACER records.
25

26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 28
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 1          VIII. Conclusion
 2          For the foregoing reasons, this Court should extend the TRO for a
 3    reasonable time to allow for thorough briefing and factual development of the
 4    issues in preparation for a preliminary and/or permanent injunction hearing.
 5                                            Respectfully submitted,
 6
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 7
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 1
                                CERTIFICATE OF SERVICE
 2
            I have served this filing on all counsel through the Court’s ECF system.
 3
                                              Respectfully submitted,
 4
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26    PLAINTIFF’S REPLY IN SUPPORT OF APPLICATION FOR TRO - 30
